           FILED
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12:44 pm, Apr 24, 2020
     U.S. DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
     LONG ISLAND OFFICE
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                      NYTENTSALE
 <                       Posts            Follow

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' ";:) WLC Warehouse Liquidation Center




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                d.        On, r about April 3 2020 SINGH,_. mpl_t _d a al_ , :f. am ng ,oth_ rr

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24th da of April 2020




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